                                                                            CLERK'S OFFICE U.S. DIST. COURT
                                                                                   AT ROANOKE, VA
                                                                                        FILED

                                                                                    JAN 3 1 2019
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINI~~LIA ~~ );.Ef'·:.LERK
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                               DANVILLE DIVISION             ~~Lffit<
   UNITED STATES OF AMERICA                     )
                                                )
                                                )        Case No.: 4:18-cr-00011
   v.                                           )
                                                )
                                                )
   MARCUS JAY DAVIS, et al.,                    )
                                                )        By:   Michael F. U rbansld.
          Defendants.                           )              Chief US District Judge

                                  MEMORANDUM OPINION

          This matter comes before the court on the government's "First Motion to Obtain

   Photographs of Defendants' Tattoos Releyant to Gang Affiliation." ECF No. 302. The

   government asks the court to compel defendants to permit the government to photograph

   their tattoos and present these photos to the jury at trial as evidence of gang affiliation. For

   the reasons stated below, the court will GRANT in part and DENY in part the

   government's motion. As a preliminary matter, the court notes that this motion applies only

   to those defendants charged in Count 1 of the Indictment Id. Thus, to the extent it is

   relevant, the court DENIES the government's motion as it pertains to defendants

   Shanicqua Lattice Coleman and Tenikqua Fuller.

                                                    I.

          "To qualify for the Fifth Amendment privilege, a communication must be

   testimonial, incriminating, and compelled." Hiibel v. SixthJudicial Dist. Court of Nevada.

   Humboldt Cty., 542 U.S. 177, 189 (2004). Certain physical traits are not testimonial for

   purposes of the Fifth Amendment. For example, the government may require a criminal




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   suspect "to put on a shirt, to provide a blood sample or handwriting exemplar, or to make a

   recording of his voice." United States v. Hubbell, 530 U.S. 27, 35 (2000) (footnotes omitted);

   see also United States v. Williams, 461 F.3d 441, 446-47 (4th Cir. 2006) (holding that a

   demonstration by a defendant that he could not physically wear the fanny pack as alleged by

   police is not testimonial evidence). As such, "the Fifth Amendment is not offended where a

   witness relies on a tattoo to identify a defendant." United States v. Greer, 631 F.3d 608, 612

   (2nd Cir. 2011).

          The government' argues that the defendants' tattoos are not. testimonial, but "akin to

   handwriting, voice, and fingerprints." ECF No. 302, at 4. Here, however, the government

   seeks evidence of defendan~s'.tattO()S not fo; i<:lentificatiop p-u,rpose.s, but as evidence of

   "each defendants' affiliation with, and participation in, the Rollin 60s Crips gang." ECF No.

   302, at 1. In other words, the government intends to rely on the tattoos "for the content of

   what was written." Greer, 631 F. 3d at 613 (quoting Gilbert v. California, 388 U.S. 263, 266-

   67 (1967)). As defendants point out, the court has considered this issue before, in United

   States v. Jones, 7:16-cr-30026-MFU, and concluded that, because the government seeks to

   use this evidence for its content, rather than merely for recognition, the tattoo evidence

   sought is testimonial. See Greer, 631 F.3d at 613; United States v. Ledbetter, 188 F. Supp. 3d

   674, 681 (S.D. Ohio 2016) (Where "the government relies on evidence of the defendant's

   tattoos for the content of the communication-the tattoo is testimonial.") (citations and

   quotations omitted). And given the nature of the charges in this case, the tattoo evidence is

   plainly incriminating. Thus, the first two qualifications to invoke Fifth Amendment privilege




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   are present. However, certain of defendants' tattoos do not require government compulsion

   to be entered into evidence.

               The government argues that photographing defendants' tattoos does not violate their

   Fifth Amendment rights because ''voluntary tattooing of incriminating symbols or words on

   [defendants' bodies] is not the product of government compulsion." Certainly,

   photographing those tattoos that are immediately visible does not require any compulsion.

   Tattoos that are "openly visible on [a defendant's] body," United States v. Toliver, 387 F.

   App'x 406, 418 (4th Cir. 2010) (unpublished),1 may be presented at trial without infringing

   on defendants' Fifth Amendment protections. Requiring defendants to submit to

   photographing openly visible tattoos does not result in compelled communication. See

   Greer, 631 F.3d at 613; Ledbetter, 188 F. Supp. 3d at 683. Therefore, the government may

   photograph defendants' openly visible tattoos, including tattoos on defendants' heads; faces,

   necks, arms, and hands. However, "the process of sharing [a] tattoo, which is not otherwise

   'openly visible' ... has communicative aspects of its own," and thus would require compulsion

   to be photographed. Ledbetter, 188 F. Supp. 3d at 683.

               Therefore, if the government seeks photographs of tattoos in other locations than

   those listed above, the government may present evidence indicating that a defendant treated


   1 Toliver  seemingly conflicts with the rationale in Greer regarding the testimonial nature of tattoos that the government
   seeks to admit for their communicative purposes. According to Toliver, tattoos offered to show a defendant's gang-
   affiliation do "not constitute testimony within the meaning of the Fifth Amendment." 387 F. App'x at 417. Toliver is an
   unpublished opinion and does not bind this court, and the court finds the reasoning set forth in Greer more persuasive
   than Toliver. That is, tattoos are testimonial if the government seeks to offer them "for the content of what was
   written." Greer, 631 F.3d at 613. Unlike Greer, Toliver did not separately consider whether the tattoos were
   "testimonial, incriminating, [or] compelled." Hiibel, 542 U.S. at 189. Nevertheless, Toliver repeatedly characterized the
   tattoos at issue as "openly visible." Toliver, 387 F. App'x at 417-18. The openly visible nature of the tattoos more aptly
   weighs on whether the evidence was compelled, not whether it was testimonial.~ Greer, 631 F.3d at 613 ("The
   voluntary tattooing of an incriminating word to Greer's arm was ... not the product of government compulsion.").
   Therefore, the court departs with Toliver's suggestion that tattoos used to show gang affiliation are not testimonial for
   purposes of the Fifth Amendment.

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   those tattoos as openly visible. For example, the government may show that a defendant did

   not regularly wear a t-shlrt, which would indicate that a tattoo on the defendant's chest was

   openly visible. To date, however, the government has not presented such evidence. The

   exhibits offered by the government, while showing several defendants in tank tops and

   shirtless, do not prove that defendants treated any part of their body apart from their arms,

   heads, necks, and faces as openly visible, for the reasons discussed below.

                                                 II.

          Also at issue are the Fourth Amendment rights of defendants. The Fourth

   Amendment guarantees that all people shall be "secure in their persons, houses, papers, and

   effects, against unreasonable searches and seizures." U.S. Const. amend. IV. "[T]he

   obtaining of physical evidence from a person involves a potential Fourth Amendment

   violation," however "the Fourth Amendment provides no protection for what 'a person

   knowingly exposes to the public, even in his own home or office."' United States v.

   Dionisio, 410 U.S. 1, 8, 14 (1973). For this reason, courts have denied Fourth Amendment

   protection to fmgerprints, voices, and faces. See Hayes v. Florida, 470 U.S. 811, 816-17

   (1985) (denying protection to defendant's fingerprints); Dionisio, 410 U.S. at 14 (denying

   protection to defendant's voice); Application of Rodgers, 359 F. Supp. 576, 577 (E.D.N.Y.

   1973) (denying protection to photographs of defendant's face). Pretrial detainees retain some

   Fourth Amendment protections, though their expectation of privacy is diminished. Bell v.

   Wolfish, 441 U.S. 520, 556 (1979). See also Cantley v. West Virginia Regional Jail and

   Correctional Facility Authority, 728 F. Supp. 2d 803, 815 (S.D.W. Va. 2010) (holding that a




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   pretrial detainee who was subjected to a visual cavity strip search stated a claim against the

   regional jail authority for violation of the Fourth Amendment).
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            It has been argued that allowing the government to search and photograph

   defendants' tattoos could violate not only the Fifth Amendment, but the Fourth

   Amendment as well. Defendants' counsel argued at proceedings held on January 25, 2018

   that, because the government has knowledge of only one tattoo on only one defendant and

   yet seeks to search and photograph all defendants, this search constitutes an unjustified

   intrusion into defendants' privacy. In analyzing the reasonableness of a physically intrusive

   search, the court "must balance the government's need for the particular search against the

   invasion of personal rights entailed by the search." Leverett v. Bell, 247 F.3d 160, 167 (4th

   Cir. 2001) (citing Bell v. Wolfish, 441 U.S. 520 (1979)). The court has already ruled that a

   search of any tattoos not openly visible to the public would violate defendants' Fifth

   Amendment rights. The only photographs taken will be of defendants' heads, faces, necks,

   arms, and hands. Since these parts of the body are exposed on a day to day basis and invoke

   no intimate privacy interests, photographs taken of these parts of the body represent no

   invasion of personal rights.z

            The government argues that defendants have waived both their Fifth and Fourth

   Amendment rights by not hiding tattoos located on their chest and legs. For the purposes of

   the Fifth Amendment, the government argues that defendants are treating the tattoos as



   2 Defense counsel argued at the January 25 proceedings that Fifth and Fourth Amendment protections should extend to

   defendants' arms. The court already ruled in Jones that arms are openly visible such that the Fifth Amendment does not
   shield them from government photography. Having seen no evidence suggesting that defendants did not treat their arms
   as openly visible or had a reasonable expectation of privacy that most individuals do not, the court maintains its original
   position.

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   openly visible. To use Fourth Amendment language, the government would have the court

   hold that defendants have ''knowingly exposed" their tattoos to the public. Dionisio, 410

   U.S. at 8. In ·support of this argument, the government submits a series of photos gathered

   from social media showing defendants in tank tops or shirdess and argues that all defendants

   charged with involvement in this criminal enterprise have collectively yielded their applicable

   constitutional rights. See ECF No. 313.

          As a threshold determination, each defendant holds his or her rights independendy of

   other defendants. The court has found no caselaw indicating constitutional rights may be

   collectively yielded; waiver requires an individual determination per defendant In the main,

   the court draws distinction between "the daily revelations of one's voice, face, and

   fingerprints that are an inevitable part of living in an interactive world," and the occasional

   removal of a shirt. Pace v. City of Des Moines, 201 F.3d 1050, 1053-54 (8th Cir. 2000).

   Perhaps it would be possible for an individual to reveal himself from the waist up on such a

   casual and consistent basis that any reasonable expectation of privacy regarding his chest is

   waived, but the government has not shown this. The photos submitted show several

   defendants in tank tops and the occasional shirtless defendant. To find that the chance use

   of a tank top or removal of a shirt waives all expectations of privacy pertaining to the torso

   would lead to an untenable result-that every individual who had ever visited a public pool

   waived Fourth Amendment protections to his or her body. See id. (ruling that an officer's

   detention and photography of defendant's chest without his consent violated defendant's

   Fourth Amendment rights) (''Were we to fmd otherwise, regular vi~itors to public beaches

   and swimming pools would be surprised to discover that their visits have cost them the


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   lasting loss of a reasonable expectation of privacy over very substantial portions of their

   bodies. We do not believe that any reasonable interpretation of Dionisio and its progeny

   could lead to such a conclusion.").

             The court holds that defendants have no reasonable expectation of privacy to their

   heads, faces, necks, arms, and hands. The government may photograph all tattoos located on

   these parts of the body. The Fourth Amendment bars photographs taken beyond these

   areas. As defendants retain their privacy expectations in the face of the photos submitted by

   the government, they cannot be said to have treated these parts of the body as openly

   visible. Thus, defendants have not waived the Fifth Amendment privilege shielding any

   tattoos located there.

                                                             III.

             The court limits the photographs the government may take to defendants' heads,

   faces, necks, arms, and hands. 3 Once the government has identified the photographs on

   which it intends to rely at trial, defendants may file motions in limine challenging the

   admissibility of specific exhibits.

             An appropriate Order will be entered..

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                                                          United States District Judge



   3 While Toliver allowed·evidence ofta:ttoos that "become easily visible were [a male defendant] to wear a tank top or
   take off his shirt," Toliver, 387 F. App'x at 418, the court finds that an approach similar to that taken in Ledbetter is
   more protective of defendants' Fifth Amendment rights. See Ledbetter, 188 F. Supp. 3d at 683 (allowing photographs of
   "tattoos on the defendants' faces, necks, hands, and forearms," but not on "defendants' backs, shoulders, torsos, mid-
   sections, legs, and feet'').

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